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  BRUCE A. BLAKEMAN                        683                            THOMAS A. ADAMS
   County Executive                                                        County Attorney




                                  COUNTY OF NASSAU
                           OFFICE OF THE COUNTY ATTORNEY

                                                                      June 24, 2025

  Honorable Judge Lee G. Dunst
  United States District Court for the Eastern District of New York
  100 Federal Plaza, Central Islip, New York 11722

                 Re:     Hasper v. County of Nassau et al.
                         Docket No.: 2:20-cv-02349(RER)(LGD)

  Dear Judge Dunst:

          I write on behalf of Defendants, with Plaintiff’s consent, pursuant to the Court’s
  directive following the status conference held on June 17, 2025.

         The parties have confirmed the following dates for the remaining depositions of the
  four Nassau County Police Department personnel:

                 •       July 8, 2025 – Detective Lunt
                 •       July 21, 2025 – Detective Purcell
                 •       July 22, 2025 – Detective Vacchiano
                 •       July 23, 2025 – Seargent Russell

          In addition, Plaintiff has indicated his intention to depose two non-party witnesses and
  is currently in the process of securing their availability. Lastly, Defendants confirm that they
  do not intend to engage in expert discovery in this matter.

                                        Respectfully submitted,

                                                       ________________________________
                                                       John Carnevale, Esq.
                                                       Deputy County Attorney



   CC:
   Anthony M. LaPinta, Esq.
   Attorney for Plaintiff




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